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                            IN THE UNITED STATES B~NKR.UPTCY COURT

                                  FOR THE DISTRICT OF DELAWARE

In re:                                                  ) Cl~aptea• 11

QLIIKSILVER,INC,, et al.,                               }      Case Nn. 15-11880(BLS)

                      Debtors.~                         )
                                                               Jointly Administered
                                                               Objection Deadline: ,January 11,2016 at 4:00 p.m.
                                                               Hearing Date: Scheduled only if Necessary




                SECOND l~()N'I'~~ILY A~'I'LIC.~TION FOR C~MPEI~lSA7Ci~l~1
                        AND R.ExMBURSEMENT OF EXPENSrS OF
             PACHULSKI STAND ZIEHL &JONES LLP,AS CO-COUNSEL TO
                   THE DEBTORS ANll DEBTORS IN POSSESSION,FOR
          THI+~ i'E~~TOD FROM OCTOBER 1= 2fl15 THROUGH OCTOBER 31,20l5

.Name of Applicant:                                         Pachulslci Stang Ziehl &Jones LLP
Authorized to Provide Professional Services                 T~~btot~s and Debtors in Possession
t0:
                                                            Nunc P~~ 7unc to September 9, 2015 by order
Date of Retention:                                          signed .October 6, 2015
Period t'or which Compensation and                          October 1, 2015 through October 31, 2015
                                                                                                    z
Reimbursement is Sought:
Amount of Compensation Sought as Actual,                    X38,391.00
Reasonable and Necessa~•y:                                         _
Amount of Expense Reimbursement Sought                      $ 1,664.34
as Actual, Reasonable and Necessary:                              __ ___                         _    ~__

This is a:          x monthly           interim             final application.

                  The total time expended far fee application preparation is approximately 3.0 hours

and the corresponding compensation requested is approximately $1,000.00.


 ~ The Debtors and the last four digits of their respective taxpayer identification numbers arc; as follows:
(~uiksiTver, Ipa_(9426); QS Wholesale, Ina (8'185), DC Direct, lnc.(83b~i), DC Shoes, Inc,(0965), Pidra, Inc:
(8945), Hawk Designs, laic.(1121), Mt. Waimea, Tnc. (5846.), Q..S. Optics, lne...(2493), QS Retail, Inc.(0505),
C~uiksilvei• Fntertainrnent, laic. (9667), and Quiksilver Wetsuits, Inc,(9599). The address of the Debtors'
corporate headquartert~s is 5600 Argosy Circle, I-tu~~tington Beach, California 9264.9:
   1'he applica~it reserves the 1•ight to include any tithe expended in the time period indicated above in future
applicai:ion(s) if' it is not included herein.


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                                   PRIOR APPLICATIONS TILED

  Date             'c~~~oi~ ~over~c~            Req~~este               ~e~t~este~            ~+i~~~~~~vec~       App~+~~s3~ci
  Fiiec~                                           fees                  E~~~ens~~                I+'ees            ,~ e~~~e
11/23/15        09/09/15 -- 09/30/15             $32,947.50                  $436.40            $26,35&.00             $436.40


                                        PSZ&J PROFESSIONAI;S

  ~I~~ #)~~`T'Q~fFSSlt~Tlc3~      ~E3Si~tU~ tl~"~~E~' ,f~.~3~I~~il~s          ~Uii2'~~'          ~il~~~       ,.    '~~~1~
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        iit~I~'It~II',~~          ~YYllI~'I'fl~'~'L'cl~ 5 1I1 ~~#il~          ' ~I~~I'!~        ~f)'{I2"~   ~`€iTti~?~~`d1'1i3~1.
                                   ~'l3SI~IQTI~ ~~"~£~T" ~►.~~GY~~I'~           ~R~~            ~1~~~{~
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                                 ~.ic~nse tai ~r et~ce, Ar~~ of              Cl~ai~~e~)
   w.,._...:.~                                  e~e~is~
Laura Davis Janes              Partner 2000; Joined Firm 2000;                $1,025.Q0           23.3Q          $23,882.50
                               Member of DE Bar since 1986
John A. Morris                 Partner 2008; Member of NY Bar                 $ $75.00             2.00          $ 1,750.00
                               since 1991
Joseph M. Mulvihill            Associate 2015; Member of DE                   $ 395.00             7.10          $ 2,804.50
                               Bar since 2014; Member ofPA
                               Bar' since 2015
Monica M. Molitor              Paralega12009                                  $ 305.00            19.80        _ $ 6,039:00
Sheryle L. Pitman              Case 1Vlanagement Assistant ZU01               $ 225.00             0.30          $    67.50
Charles J. Bouzoukis           Case Management Assistant 2001                 $ 225.00             7.40          $ 1,665.Q0
Karen S. Neil                  Case Management Assistant 2003                 $ 225.00             9.70          $ 2,182.50

                                             Ga•and Total: $ 38,391.00
                                             Total Hours:        b9.60
                                             I3tendeci Rate: $  SSI.S9




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                                 COMP~;NSATION ~3Y CATEGORY
                                                                                     - --—
             P~~~e~~ fat orie~ .:                      ._:._.~.:. '~'art~~ Louis         Total ~'~~s
Asset Disposition              _~                                               1.Q0          $ 1,025.00
13ankruptc Litigation                                                          23.70          $16,284.50
base Administration                                                            26.20       ~$ 7,335.Q0
Financing                                                                       6.90          $ 6,808.50
Plan &Disclosure.Statement                                                      1.70          $ 1,427.50
Retention of 1'rafessianal                                                      0.20        ~$       61.QO
Retention of FrofJOther                                                         0.30          $ 307.50
Stay Litigation                                                                 9.60          $ 5,142.00



                                         EXPENSE SUMMARY
                                                                                                     ''c~~~___
     ~~~~~zse ~~te~c~~          ~~~`~~~v~~e 'c~~i€~~
                 ..~.._......~.               __~~~~~pl~c~b~e)                                     ~~c~~~es
Conference Call                 AT&T Conference Call                                                ~$ 3.25
Delivery/Courier Sexvice        Digital.Legal                                                         $'71.59
Filing Fee        ___.___       USBC              ._.______...._._..._ _~_   ._...._             _    $176.00
Court Research                  Pacer                                                                 $ 67.20
Re roductioi~ Expense T             Y~                                                                $770:80
Reproduction/ Scan-Copy .         ____ _                                   ~                          $57550




 PSI&J may use one or more service providers. The service providers identified herein below are the primary
service providers for tl~e categories descyibed.


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                          IN THE tJNITLD STATES BANKRUPTCY COURT

                                  FOR THE DISTRICT OF DELAW~R~

I~ ~•~;                                             ) Chaptez• 11

QUIKSILVER,INC., et al.,                            )  Case No. 15-11880(ILLS)
                                                    ~.
                      Debtors.~                     )
                                                          Jointly Administered
                                                          OUjection Beadline: Janaary 11, 2016 at 4:00 p.m.
                                                          T-lcaring Date: Scheduled only.if 1Vecessar~




              SECOND MONT~-ILY APPLICA'I'IOIV ~~R COIi~PEIVSATI01~1
                    AND I2.EIMI3U~~SEMENT OF EXPENSES OF
            PACHULSKI STANG ZII+~HL &JONES LLP,AS CO-COUNSEL TO
                THE DEBTORS AND DEBTORS TN_P~SSESSION,FOR
          THE PERIOD FROM OCTOBER 1, 2015 THROUGH OCT0~3ER 31,2015

                  Pursuant to sections 330 and 331 of Title 11 of the United States Code (the

"Bankruptcy Code"), Rule 2016 of the Federal Rules of Bankruptcy Procedure {collectively, the

"Banlcx•uptcy Rules"), and the Court's "Order Pu~~suant to Bankruptcy Code.Sections I OS(a) and

331 Establishing Interim Compensation Procedures," signed on ar about October 28, 201 S (the

"Administrative Ozder"), Pachulski Stang Ziehl &Tones LLP ("PSZ&.J" or the "Firm"), Co-

Counsel to the Debtors and Debtors in Possession ("Debtors"), hereby submits its Second

Monthly Application far Compensation and for Reiinbu~•sernent of Expenses fat• the Period from

October 1, 2015 tht~ough October 31, 2015 (the "Application"}.




 ~ The Debtors and the last four digits of their respective taxpayer identification numbers are as follows;
Quiksilver, I~7a (9426), QS Wholesale, Inc.(5795),.DC Direct, Inc.(8364), DC Shoes, Inc.(0965), Fidra, Inc.
(8945), Hawlc Desrgns, Inc.(1121), Mt. Waimea, Tnc.(5846), Q.S. Optics, Inc.(2493), QS Retail, ]nc.(0505},
Quiksilver Entertainment, Tne.(9667), and Quiksilver Wetsuits, Inc.(9599). The address of the Debtors'
eorpoj•ate headquai~tet•s is 5600 At•gosy Circle, Huntington Beach, California 92649.


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                   By this Application PSZ&J seeks a monthly inteY•im alla~vance of compensation

in the amount of $38,391.00 and actual and necessal•y expenses in the amount of $1,b64.34 for a

fatal allowazlce of $40,055.34 and payment of $30,712.80(80%ofthe allowed fees) and

reimbursement of $1,664.34(100% of the allowed expenses)far a total payment of $32,377.14

for the period October 1, 2015 through Octobez~ 31, 201 S (the "Interim Period"). 7n support of

this Application, PST&J respectfully represents as follows;

                                                   ~aC~C~I'Ot1IlE~


                               On September 9, 2015, Debtors commenced their cases by 1"iling voluntary

petitions for relief under chapter• l 1 of the Bankruptcy Code. 'I~he DebtoX•s continue in possession

of their propei~ties and continue to operate and manage their businesses as debtors in possession

pursuant to sections 1107{a) and 1108 of the Bankruptcy Code. An official committee of

unsecured creditors (`.`Committee") was appointed in these cases on or about September 22,

2015. No trustee or examiner has been.appointed in any of the Debtors' chapter 11 cases.

                   2.          The Court has jurisdiction over this matter pu~•suant to 28 U.S.C. §§ 1 S7

and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

                   3.          On ar about October 28, 2015, the Court signed the Administt~ative O~•der,

authorizing cez~tain professionals ("Professionals") to subrnit.monthly applications foz~ interim

com~iensa9:zon and reirnbu~°se~nent fog• expenses, pursuant to the pracedutes specified therein:..

The Administrative Order provides, among other things, that a Professional may submit monthly

fee applications. If no objections are made within .twenty-one (21) days after service of the

monthly fee application the Debtors are authorized to pay the Pi~ofessio~lal eighty percent(80%)



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of the requested fees and one hundred pe~•cent(100%)of the requested expenses. Begin~iing

with the period ending December 31, 2015, and at three-month intervals thereafter, each of the

Professionals shall file ar~d serve an interim application fo1• allowance of the amounts sought in

its monthly fee applications fox that period. All fees and expenses paid are on an interim basis

u~~til Ana] allowance by the Court.

                 4.          The retention of PS7&J, as Co-Counsel to the Debtors, was approved

effective as of September 9, 2015 by this Court's "Orde~~ Uranting Debto~•s' Application Pursuant

to Sections 327(a) and 329 of the Bank~~uptcy Code and Bankruptcy Rules 2014 and 2016 and

Local Bankruptcy Rules 2014-1 and 2016-1 Authorizing the F,mployment and Retention of

Pachulski Stang Ziehl &Tones LLP as Co-Counsel for the Debtors Nunc Pao Tunc to the Petition

Date," signed on or about October 6,2015 (the "Retention O~•der"}, The Retention Order

authorized PSZ&J to be compensated o~ an hourly basis and to 6e ~•simbursed for actual and

necessary. out-ofpockei expenses.

                       PSZ&.T's APPLICATION FAR COMPENSATION AND
                             F(}lt REIMBURSEMENT OF EXPENSES

                                    Co~~x~~eus~tion ~'aici ~~ad Ids Sou~•ce

                  S.         All services for which PSZ&J requests compensation were performed for

or' on behalf of the Debtors.

                 6.          PSZ&J has received no payment and no promises for payment from any

source other than from the Debtors far services rendered or to he rendered in azzy capacity

whatsoever in connection with the matters covered by this Application. There is no agreement or•

understanding between PSZ8zJ and any othez• person other than the pa1•tners of PSZ&J for the


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sharing of compensation to be received for services rendered in this case. PSZ&J has received

payments from the Debtors during the year prior to the Petition Date i~~ the amount of

$150,000.00. i,Jpon final reconciliation of the amount actually expended prepetition, any balance

~•ernaining from the prepetition payments to the Firm vvas credited to the Debtors and utilized as

PS7&J's retainer to apply to postpetition fees and expenses pu~•suant to the compensation

procedures approved by this Court in accordance with the Bankruptcy Code,

                                               Fee StateYr►ents

                 7,          The fee statements for the Interim Period az•e attached hereto as exhibit A.

These statements contain dazly time logs describing tl~e time spent by each attorney and

paraprofessional during the Interim Period. To the best of PSZ.&J's knowledge, this Application

complies with sections- 330 and 331 of the Bankruptcy Code,the Bankruptcy Rules and the

Administrative Order. PSZ&J's time repot~ts are initially handwritten by the attorzley or

paralegal performing the described.services. The time reports are organized on a daily basis.

PSZ&J is .partieula~•ly sensitive to issues of"lumping" and, unless time was spent in one time

frame on a variety of different matters for a pax~tioular client, separate time entries are set forth in

the time repot~ts. PSZ&J's charges for its professional services are based upon the time, nature,

extent and value of such services and the.cost off'comparable services other than in a case undez•.

the Bankruptcy Code. PSL&J has reduced its chaz•~es xelafed 4o any nor -'working "ti°avel tinge"

to fifty percent(50%)of PSZ&J's standard hourly rate. To the extent it is feasible, PSZ&J

professionals attempt to work.during travel.




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                                      Actual anci Necessary Ex~~eY~ses

                 8.          A summary of actual and necessary expenses incurred by 1'Sl&J for the

interim Period is attached hereto as part of exhibit A. PSZ&J customarily charges $0.10 per

page for photocopying expenses related to cases, such as these, arising in Delaware. PSZ&J's

phUtocopying machines autamatieall~ record the number of copies made when the person that is

doing the copying entexs the client's account number into a device attached to the photocopier.

PS1&J summarizes each client's photocopying charges on a daily basis.

                 9.          PSZ&~ charges $1.00 per page for out-going facsimile transmissions.

There is no additian:al cllaz•ge for long distance telephone calls on faxes. The charge for outgoing

facsimile transmissions rcllects PSZ&J's calculation of the actual costs incurred by PSZ&J far

the machines, supplies and extra labor expenses associated with sending telecopies and. is

reasonable in relation to the amount cha~•~ed by outside vendors who provide similar services.

PSZ&J .does not charge the Debtors for the ~~eceipt of faxes in these cases.

                  1U.        With respect to providers of on-line legal research services (e.g., LEXIS

and WFSTLAW),PSZ~J charges the standard usage rates these providers charge f'or

computerized legal research., PSL&T bills its clients the actual amounts charged by such

se~•vices, wiih nn p~•en~ium. Any volume discount received.by~ PSZ&J is passed on to the client.

                  11.        I'SZ,&J.believes the foregoing rates are the market 1=ales That the majc~x•ity

of law firms charge clients for such sez~vices. In addition, PSZ&J believes that such charges axe

in accordance with the American Bar fl.ssociation's("ABA")guidelines, as set forth in the




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ABA's Statemezlt of Principles, dated January 12, 1995, regarding billing for disbu~•sements and

other charges.

                                      Su~n~~~a~~v of Services Rendered

                 12.         The names of the partners and associates ofPSZ&J who have ~•endered

professional services in these cases during the Interim Period, and the paralegals and case

management assistants of PSZ&J who provided services to these attorneys during the Interim

Period, axe set forth in the attached Exhibit A.

                  13.        PSZ&J, by and through such persons, has prepared and assisted in the

preparation of various motions and ordez•s submitted to the Court for consideration, advised the

Debtoz•s on a regulaz• basis with respect to various matters in cannectian with the Debtors'

banlczuptcy cases, and perfoi7ned all necessazy pxafessional services which are described and

nan•ated in detail below. PSZ&J's efforts have been extensive due to the size and complexity of

the Debtors' bankruptcy cases.

                                      Strrnma~-y of Services by Praiect

                  14.        The services z~endered by PSZ&.7 during .the Interim Period.can be grouped

into the categories set forth below. PSZ&J a#tempted to place the services provided in the

category that best relates to such services. However, because certain services may relate to one

or more categories, se~~viccs pe~-tainin~; to one category r ay in fact be included in ~nothei~

categar~. These sezvices performed, by categories, az•e generally desc~•ibed blow; with a more

detailed identification of the actual services provided set forth on the attached Exhibit A. Exhibit

A identifies the attoY•neys and paraprofessionals wl~o ~~ende~~ed se~~vices relating to each category,



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along with the number of hours for each individual and the total compensation sought fox each

category.

             A.          Asset Dfspositio~i

                   15.        "lhis cate~or~ relates to work _regarding sale and other asset disposition

issues. Duz~ing the Interim Period, the Firm, among other things;performed work regarding

declarations in support of store closing sales, and attended to issues regarding; a store closing

motion.

                              Fees: $1,025.00;       Hours: 1.00

              B.         ~i~nkrz~ptcy Litigation

                   16.        This category relates to work regarding motions or adversary proceedings

in the Bankruptcy Court. During the Interim Period, the Firm;among other things:

(1) perfo~•med work regarding Agenda Notices and Hearing Binders;(2) attended to scheduling

issues;(3) prepared for and attended hearings on October 6, 14 and 28, 201 S; and (4)conferred

and corresponded regarding litigation issues.

                              Fees: $16,284.50;      Hours; 23.70

              C.         Cass A,c~aninist~~tio~n

                   ]7.        This category relates to work regarding administration of this case.

During the Interim Period, the Firm, among othez• things: (1) mazntained a memorandum of

critical dates;(2) maintained document control; {3) maintained service lists; and(4)reviewed

and analyzed documents and pleadings and forwarded them to the appropriate persons.

                              tees: $7,335.00;        Hours: 26.20




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            D.         Financing

                 1$.        This category relates to warlc regarding Debtor in Possession ("DIP")

financing and use of cash collateral. During the Interim Period,_ the rirm, among other things:

(1)reviewed and analyzed objections to.pro~ased DIP 'financing;(2) perfozmed work regarding a

Committee objection to DIP financing and assumption ofPSA; and (3)corresponded and

conferred regarding financing issues.

                            Fees: $6,8Q8.50;      Haurs: b.90

            E.         Plan and Disclosuj~e Staten~eY~t

                 19.        This category relates to work regarding a Plan of Reorganization ("Plan")

and Disclosure Statement. During the Interim Period, the rirm, among other things:

(1)reviewed and analyzed a Plan;(2} performed research; and (3) performed work regarding

Plan Support Agreements..

                            Fees: $1,427.50;      Hours: 1.70

            F.         RC~SI3~1011 Of P1'OfCSSI0U~~5


                 20.        This category relates to issues regarding retention of the Firm. During the

Interim Period, tl~e I'i1~m, among other• thins, performed work regarding t11~ Firm's retention

application.

                            Fees: $61.00;          Hours: 0.20




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               G.         Retention of Y~•ofession~ls--Others

                    21,       This category relates to issues regarding ~•etention of professionals, other

than the Firm. During the Inteyim. Period, the I"irm, among other things, performed worl~

regarding the PJ Solomon matter.

                              Fees: $307.50;                 Hours: 0.30

               H.         Stay Litigation

                    22.        This category relates to issues regarding the automatic stay and relief from

stay motions. During the Interim Period, the Firm, among other things, performed work

regarding a motion and order for relief from stay relating to bonds, attended to notice issues, and

corresponded and conferred regarding relief from stay issues.

                               Dees: $5,142.00;              Hours: 9.60

                                                  Valuation of SeT-vices

                    23.        Attorneys and paraprofessionals of PSZ&J expended a tota169.60 hours in

connection with their ~•epresentation of the Debtors during the Interim Period, as follows:

~c~Ilt~ t}~.~'~'tl~~'.~sS1~IY`~~      ~US1tIDi1 4~ ~~8 t~.~3~}~t~'~Il~j               ~Utit~~r                U~e'3~          '~(l1`f3~
          . i~ic~~~a~                  lumber a~'3~'~a~~~ i~~ teat                     ~ l~i~~g            ~€~€~z~~      ~>`+~~~~~e~s~t%~~
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                            License to Pr~c#~c~s`~i•~~:t~f +~h~~ges)
                       1             ` ~;x ert~s~ , .
Laura Davis Jones ~ Partner 2000; Joined Fiz~m 2000; ~ $1,025.00       23.30                                                 $23,882.50
                         IVlember of DE Ba~~ since 1986
John A. Morz•is          Partner 2008; Member of NY Bar     $ 875.00 TM 2.00                                                 $ 1,750.00
                         since 1991
Joseph M. Mulvihill      associate 2015; Member of DE       $ 395.00     7.10                                                $ 2,804.50
                         Bar since 20.14; Member of PA
                         Baz~ since 2015
Ivlonica 1`Yi. Molitor   I'aralegai 200                     $ 305.00    19.80                                                $ 6,03 .00
Sheryle I,. Pitman       Case IVlanagement Assistant 2001   $ 225.00     0.30                                                $    67.SQ



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                        ~.icet~sc to ~''ractice ;A~•~~ ~f`              £~~ ~n~es)
                                   ~~ e~is~
Charles J. Bouzoukis~ Case 1'vTanagement /lssistant 2001                 $ 225.00 ~ 7.40           $ 1,665.00
Karen S. Neil    `~ Case Management Assistant 2003                       $ 225.00 ~ 9.7U           $ 2,182.50

                                               Grand To#al: ~ 38,391.Q4
                                               Total Hou~•s:      b9.6U
                                               Blended Rate: ~   SS1.S9

                   24.          The nature of work perfozmed by these persons is fully set forth in Exhibit

A attached hereto. These are PSZ&J's normal hourly rates fox• vvorlc of this character. The

~•easonable value of the services rendered by PSZ&J for the Debtors during the Interim Period is

$38,391.40;

                   25.          In accox•dance with the factors enumerated in section 33Q of"the

Bankruptcy Code, it is respectfully submitted that the amount requested by PS7&.i is fair and

reasonable given (a)the complexity of the case,(b)the time expe~~ded,(c)the nature and extent

of the services re~ide~•ed,{d) the value of such services, and (e)the costs of comparable services

other than in a case under the Bankruptcy Cade. Mo~•eover, PSZ&J has reviewed the

requirements of Del. Bankr. T..R 2016-2 and the Administrative Order.and believes that this.

Application complies with such Rule and Order.

                    WH~REI~ORE,P.SZ&J respectfully requests that, for the period OctoUer 1, 2015

through October 31, 2015, an interim allowance be made to PSZ&J for compensation in the

amount of $38,391.00 and actual and necessary expenses in the amount of $1,b64.3~ for a total

allawanc~ of X40;055.34 and payment of $30,712.80(80% of the allowed fees} and




Rocs nr:zoao~ ~ .z ~i~~~ioo ~                              10
               Case
               Case 15-11880-BLS
                    15-11880-BLS Doc
                                 Doc 816-8 Filed12/21/15
                                     592 Filed   02/19/16 Page
                                                           Page1415ofof1545




reimbursement of $_1,664.34(100% ofthe allor~ed expenses) be authorized for a total payment of

$32,377.14, and for such other and further• relief as this Court may deem just and proper•.

Dated: Decembe~,201S                  PACHULSKr S`rANG ZIEHL &JONES LLP

                                                                   ...   ,~ ~
                                       aur~,..~avis Jo es       Bar o. 2436)
                                      James E. O'Neill(DE Bar No. 4042)
                                      Jeffrey N. Pomerantz{CA Bar No. 1437.17)
                                      John A. IVlorris(NY Bar No. 4662)
                                      919 North Market Street, 17th Floor
                                      Wilmington, D~ 19 01
                                      Telephone: (302)652-4100
                                      Facsimile: (302)652-4400
                                      Email: 1jones(cr~,pszjlaw.com
                                               joilei11(c~pszjlaw.com
                                               jpomerantz~),pszjlaw.com
                                               jmorris apszjlaw.com

                                      Ca-Counsel for the Debtors and Debtors in Possession




UOCS DG:20407.1.2 72779/001                      11
               Case 15-11880-BLS Doc 816-8 Filed 02/19/16 Page 16 of 45
               Case 15-11880-BLS Doc 592 Filed 12/21/15 Page 15 of 15




                                                VERIFICATION

STATL OI' DELAWARE

COUNTY OF NEW CASTLE


                 Laura Davis Jones, after being duly swor~~ according to law, deposes and says:

                 a)          I am a pa~~tner with the applicant law arm Pachulski Stang 7ieh1 &Jones

I~LP, and have been admitted to appear before this Court.

                 b)          I am familiar with many of the legal services rendered by Pachulski Stang

Ziehl &Jones LLP, as Co-Counsel to the Debtors, and am thoroughly familiar with the other

vvorl< performed on behalf of the Debtors by the lawyers and parap~•ofessianals ofPSZ&J.

                 c)          I have reviewed the foregoing Application and the facts set forth the~•ein

are true and cox7~eat to the best o~ my knowledge, information and belief. Moreover, I have

reviewed Del. Bankr. I,R 2016-2 and the Administt~ative Order• signed on or about October 28,

2015, and submit that the Application substantially complies.with such Rule and Order.




SWO~ I~i7 SUBSCRIBE
~e~ rnc~h, is ~-1 day of                 o   ,2015.



   nary 'i~,a~t~;L
                                     ~T~T~ Of= DC:L.~W~R~
iViy Gomrx~::sion Expiz•es:
                                  My Commission ~x~ires October 14, 2016




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                                                                        Page 18ofof29
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                                 Pachulski Stang Ziehl &Jones LLP
                                         10100 Santa Monica Blvd.
                                                 13th Floor•
                                          I,os Angeles, CA 90067
                                                                        October 3 I, 2015
Quicksilver, Inc.                                                       b~voice 111689
5600 Aj~gosy Circle                                                     Client    72779
Huntington Beach, CA                                                    Matter    OOOQ2
                                                                                  JNP
R~: Post-Aetition



          STATEMENT OF PRa~ESSIONAL SER`JiCES RENDERED THROUGH 10/31/2015
                FEES                                                     $3&,391.00

                EXPENSES                                                  $1,664.34

                TOTAL CURRENT CHARGES                                    $40,055.34

                $ALAI`rCIi, FOR1~'VARD                                   $33383.90
                TOTAL BALANCE DUE                                        $73,439.24
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72779     00002                                                                                   October 31, 201 S




 Summary of Se~~vices by Task Code
  Task Code            Description                                                      I-lours                         Amount

 AD                     Asset Disposition [B130]                                          ~•~~                         $1,025,00

 BI,                   I3ank~uptcy Litigation [L430]                                    23.70                         $16,284.50

 CA                    Case Administration [8110]                                       26.20                          $7,335,00

 FN                     Financing [B230]                                                 6.90                          $6,808.50

 PD                    Pian &Disclosure Stmt.[B320]                                       ~ ~~~                        $1,427.50

 Rl'                    Retention of Pi•of,[B160]                                         ~•zfl                          $61.00

 RPO                    Ret. of Prof./Other                                               0.30                          $307.50

 SL                     Stay Litigation [B 140]                                           9.b0                         $5,142.Q0
                                                                                        b9.60                         $38,391.00


  Surr►marlr of Services by Prafessionai
  YD           Nama                                    Title                    Rate               Hours                 Amount

 CJB           Iiouzoukis, Charles J.                  Case Man. Asst,         225.00               740               $1,665:00

 JAM           Morris, John A.                         Partner                 875 AO               2.00              $1,750.00

 JMM           Mulvihill, Joseph M.                    Associate               395.00               ~~10              $2,804.50

 KSN           Neil, Kai•en S.                         Case Man. Asst.         225.00               9,~4              $2,182.50

 C,DJ          Jones, Laura Davis                      Pat~mer                1025.00              2~•3fl         $23,882:50

 MM            MoNtor•, Monica                         Paj-alegal              305.00              19.80              $6,039.00

 SLP           Pitman, L. Shejyle                      Case Man. Asst.         225.00               ~•~d                 $b7.50
                                                                                                  69.60               $38,391,00




 Sun~~rtary of Expexxses
 Description                                                                                                             A;z~atznt

 Conference Call [E-105]                                                                                                   $3.25




 Delivery/Cow•ier Service                                                                                                 $71.59
                      Case 15-11880-BLS
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Quiksilver                                                                    Invoice l l 1b89
72779 00002                                                                   October 31, 2015


 Su~~nlax-v of Expenses
 Description                                                                                      Amount

Fili~~~ Fee [~3 I2]                                                                              $l 76.00




Pacer -Court Research                                                                              $67.20




Reproduction Expense [E l O l]                                                                    $770.80




Reproduction/ Scan Dopy                                                                           $575,50




                                                                                                 $1,664.34
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                     Case 15-11880-BLS          Doc 816-8 Filed
                                                Doc 592-2 Filed 02/19/16
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                                                                                     Page 5      45


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Quil<silver                                                                                     Invoice 111689
72779 00002                                                                                     October 31, 20]5


                                                                                       Hours            Rate        Amount

  Asset Disposition [I3134J
l0/01/20]S    LDJ     All      Review Chai•tock supplemental declaration in              0,40      1025.00          $410.00
                               support oi'stor•e closing sale
1010]/2015    LDJ     AD       Review Ian Fredericks supplemental declaration in         O.AO      1025,00          $410.00
                               support of store closing; sale
10/01/2015    LDJ     AD       Review reply to limited objection of Taubman              0.20      1025.00          $205.00
                               Landlords to store closing motion
                                                                                         1.00                      $1,025.00

  B~gikruptcy Litig~#io~~ [L430]
]0/Ol/2015    KSN     BL       Prepare hearing binders far 10/6/15 hearing.              0.20       225,00           $45,00
l 0/02/2015   LDJ     ~Za      Review matters scheduled for 10/6/1 S hearing;            0.20      ]025.00          $205.00
10/02/20]S    KSN     B~       Prepa~•e hea~•ing binders fof• l0/6/l 5 hearing,          2.00       225.00          $450.00
10/02/2015    JAM     B~-      Review revised motion (.4); review e-mans re              0.60       875.00          $525.00
                               motion for Boardriders bonds (.2).
10/02/2015    MM      ~~       Email exchange with Karen Neil regarding 10/6/15          0.10        305.00          $30.50
                               hearing binder
10/05/2015    ICSN    BL       Prepare hearing binders for 1016115 hearing.              0:20        225.00          $45.00
10/05/2015    MM      ~L       Confer with Karen Neil regarding amended agenda           0.10        305.00          $30.50
                               and hearing binder updates for• Laura Davis .Tones'
                               regarding same
10/06/2015    I;DJ    ~~       Attend ]0/6/15 hearing.                                    1.50      1025.00        $1,537.50
10/06/2015    KSN     $~       Prepare hearing binders for ]0/14/15 hearing.             0.30        225.00          $67.50
10/08/2015    MM      1~T.,    Email exchange with Karen Neil regarding 10/14/15         0.10        305.00          $30.50
                               hearing preparation
]0/09/2015    LDJ     S~-      Review matters scheduled for 14/lA/15 heari~3g            0.20       1025.00         $205.00
10/09/2015    KSN     ~1~      Prepare hearing binders for 10/l4/I5 hearing.             2.50        225,00         $Sb2.S0
10/]3/2015    LDJ     BL       Prepare for l0/14/15 hearing                               1.50      ]p2S.00        $1,537.50
10/13/2015    KSN     B~       Prepare hearing binders for ]0/14/15 hearing.             0.70        225.00          X157:50
10/14/2015    LDJ     Br~      Final preparation fog• 10/14/15 heari~~g                   1.20      ]025.00        $1,230.00
10/14/2015    LDJ     B~       Ailend ]0/I4/IS hearing                                   5•gfl      1025.00        $5,945.00
10/14/2015    JMM     B~       Printi~lg Judge Sontchi decision for Laura Davis          0.20        395.00           $79,OQ
                               Jones and send to Court
10/22/20]5    KSN     B~       Prepare hearing binders for 1 1/17/15 hearing.            0.20        225.00           $45.00
10/26/2015    LDJ     gL       Review matters scheduled for• Dearing an l U/28/15        0.20       1025.00         $205.00
10/26/2015    KSN     $~       Prepare hearing binders for 10/28/15 hearing.             2.&Q        225.00         $630.00
10/26/2015    MM      1~1-     Email exchange with Karen Neil t•egarding 10/28/15        0.20        305.00           $61.00
                               hearing agenda and hearing binders for• Laura Davis
                       Case 15-11880-BLS
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Quiksilver                                                                                         Invoice 1116&9
72779 00002                                                                                        October 3l,2015


                                                                                          Hours           Rate        Amount
                               Jones regarding same
10/26/2015      MM      ~~     Email to I..au~•a Davis Jones and James E. O'Neill           0,10       305,00          $30.50
                               regarding 10/28/15 hearing binders
10/28/2015      LDJ     ~L     Attend 10/28/l5 hearing                                      2.50      1025.00        $2,562.50
10/28/2015      TCSN    13~    A~'epare hearing binders for 11/17/15 hearing.               0,30       225.00          $67.50
                                                                                           23.70                 $16,284.50

  Case Ad~ninistratioY~ [B110)
10/01/2015      MM      CA     Update docket and review (.l ); review daily                 0.70       305.00         $213.50
                               con•espondence and pleadings and forward to the
                               appropriate parties (.2); update critical dates
                               memorandum (.2); email exchanges with counsel
                               regarding pending deadlines and follow-up
                               regarding same (.2)
10/01/2015      MM      CA     Coordinate 2002 service data updates regarding               0.10       305.00          $30.50
                               counsel far Creditors' Committee per envy of
                               appearance
10/02/2015      MM      ~A     Coo~•dinate 2002 service updates regarding amended           0.10       305.00          $30.50
                               notice of appearance filed by Macerich counsel
1 0/02120 1 5   MM      CA     Update docket and review (.1); review daily                  1.00       305.00         $305.00
                               cot•respondence and pleadings and forward to the
                               appropriate parties (.4); update critical dates
                               memorandum (.2); e►nail critical dates memo to
                               Janes E. O'Neill and Laura Davis Jones and John A.
                               Moi7•is (.I); email exchanges with counsel regarding
                               pending deadlines and follow-up t•egarding same (.2}
10/OS/2015      SLI'    CA     Maintain docket control.                                     0.30       225.00           $67.50
10/05/2015      CJB     ~A     Maintain document control.                                   1.70       225.00          $382,50
10/05/2015      MM      CA     [Jpdate docket and review (.1); review daily                 0.60       305.00          $183.00
                               co~~~espondence and pleadings and forward to the
                               app7•opriate parCies (.2); update critical dates
                               memorandum.(.2); email exchanges with counsel
                               regarding pending deadlines and follow-up
                               regarding same (.1)
10/06/2015      MM      CA     Update docket and review (2 times)(.2); review               1.3Q       3Q5.00          $396.50
                               daily correspondence and pleadings and i`orward to
                               the appropriate paY•ties (.4);. update cr~itica! dates
                               ~nenYorandum (,4); email exchanges with counsel
                               regarding pending deadlines and follow-up
                               ~•egarding same (.3)
 0/07/2015      CJB     CA     Maintain document control.                                   2.30        225.00         $517.50
10/07/2015      iY1M    CA     Coordinate 2002 service updates regardan~ counsel            0.1 Q       305,00          $30.50
                               for First &.Lenora
10/07/2015      MM      CA     Update dockets and review (.1); review daily                  1.00       305.00         $305.00
                        Case 15-11880-BLS
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Pachulski Stang liehl &Jones I.,LP                                                                 ]'age:    6
Quiksiiver                                                                                         Tnvoic~ 111 b89
72779    00002                                                                                     October 31, 2015


                                                                                           Hours           Rate       Amount
                                 correspondence and pieadin~;s and fo~•ward to the
                                 appropriate parties (.5); update c~•itical dates
                                 memoi•andun~ (,3); email exchanges with counsel
                                 regai•din~; pending deadlines and follow-up
                                 i•egai•ding same (.1)
10/08/201 S     C.~I3    L/~     Maintain document control.                                  0.20      225.00         $45.00

10/08/2015      MM       CA      Update docket and review (.1); ~•eview daily                0.70       305.00        $213.50
                                 correspondence and pleadings and forward to the
                                 appropriate parties (.3); update critical dates
                                 memorandum (.l); email exchanges with counsel
                                 regarding pending deadlines and follow-up
                                 regarding same (.2)
1 Q/08/2015     MM       LA      Coordinate 2002 update ~•egarding Rosenthal                 fl• 1 ~    305,00         $30.50
                                 Rosenthal

10/12/2015      CJT3     CA      Maintain document control                                   0.60       225.00        $135.00

10/12/2015      MM       ~A      Update docket and review (2 times)(.2); review              0.90       305.00        $274.50
                                 daily correspondence and pleadings and fo~~ward to
                                 the appropriate parties (.3); update critical dates
                                 mema~•andum (.2); email exchanges with counsel
                                 regarding pending deadlines and fallow-up
                                 regarding same (.2)
10/13/2015      MM       c~      Coordinate 2002 service data regarding counsel for          x•10       305.00         $30,50
                                 Victoria Ward L,td.

10/i 3/ZO 1 S   MM       CA      Update docket and review (2 times){2); review               1.20       305.00        $66.00
                                 daily correspondence and pleadings and forward to
                                 the appropriate parties (.6); update critical dates
                                 memorandum (.3); email exchanges with counsel
                                 regarding pending deadlines and follow-up
                                 t•egarding same (.1)
10/14/2015      MM       CA      Update docket and review (7 times)(.2); review              0.80       305.00        $244.00
                                 daily correspondence and pleadings and forward to
                                 the appropriate parties (.3); update critical dates
                                 memorandum (.2); email exchanges with counsel
                                 f•egarding pending deadlines and follow-up
                                 regarding same(.1)

10/15/2015      CJB      c~          Maintain document control.                              0,60       225.00        $135.00

]4/15/2015      KSN      C!~         Maintain doc;umerat control.                            0.10       225.00         $22,50

l0/IS/2015      MM       CA          Update docket and review (.1); review daily             0.70       305.00        $213.50
                                     cari•espondence and pleadings and forwa~•d to the
                                     approp~•iate parties (.2); update critical dates.
                                     memorandum (.3); email exchanges with counsel
                                     regarding pending deadlines and follow-up
                                     regarding same (.1)
1Q/16/2015      MM       CA          Update docket and review (.1); 1•eview daily            0.50       305.00        X152,50
                                     cor~•espondence and. pleadings and forward to the
                                     appropriate parties (.'1); update critical dates
                      Case 15-11880-BLS
                      Case 15-11880-BLS
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                                                   Doc 592-2
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Quiksilver                                                                                      Invoice 11 ]689
72779 00002                                                                                     October 31, 2015


                                                                                        Hours           Rate       Amount
                                memorandum (.1); email exchanges with counsel
                                regarding pending deadlines and follow-up
                                regarding same (.2)
]0/l 9/201 S   MM      CA       CJpdate docket and review {2 tunes)(.2); review           0.90      305.00         $274.50
                                daily correspondence and pleadings and forward to
                                the appropriate parties (.S); update critical dates
                                memorandum (.1); email exchanges with counsel
                                regarding pending deadlines and follow-up
                                regarding same (.1)
10/20/2015     CJB     ~/~      Maintain document control.                                0.80      225.00         $180.00

J 0/20/2015    I{SN    CA       Maintain document control.                                0.10      225.00          $22.50

10/20/2015     MM      CA       Coordinate 2002 service updates 1•egarding City of        0.10       305.00         $30.50
                                El Paso and Dragon Crowd Garment
10/20/201 S    MM      CA       Update docket and review (.1); review daily               0.90       305,00        $2'74.50
                                co~~respondence and pleadings and forward to the
                                appropriate parties (.3); update critical dates
                                memorandum (,3); email exchanges with counsel
                                regarding pending deadlines and fallow-up
                                ~•egarding same (.2)
10/21/201 S    MM      CA       Update docket and review (.7 ); ~•eview daily             0.50       305.00        $152.50
                                correspondence and pleadings and forwaj•d to the
                                appropriate parties (.1); update critical dates
                                memorandum (.l); email exchanges with counsel
                                regarding pending deadlines and follow-up
                                regarding same {,2)
10/21/2015     MM      CA       Coordinate 2002 service updates par substitution of       0.i0       305.00         $30.50
                                counsel rega~'din~ Taubman landlords ..
10/2 t/2015    MM      C/A      Coordinate 2002 service updates regarding WRI              0.10      305.00         $30.50
                                Marshals Plaza
10/22/2015     MM      CA       Coordinate 2002 service data updates regarding             0.10      305.00         $30.50
                                counsel for Weihai Textile
10/22%201 S    MM      ~A       Update docket and reviev~ (.1); review daily               0.70      305.00        $213.50
                                cor~•espondence-and pleadings and foi•wai•d to the
                                appropriate parties (.2); update critical dates
                                memorandum (,2); email exchanges with counsel
                                i~e~;arding pending deadlines and follow-up
                                regarding same (.2)
10/23/2015     CJB     CA           Maintain document control.                             0.40      225.00         $90.00

10/23/2015     KSN     CA           Maintain document control.                             0,10      225.00         $22.50

10/23/20 7 5   MM      CA       Update docket and review (.l ); review daily               0.50      305,00        $152.50
                                correspondence-and pleadings and forward t~ the
                                appropriate parties (.2); update c7~itical dates
                                memorandurri (:l ); email exchanges wit1~ counsel
                                regarding pending deadlines and follow-up
                                regarding same (.1)
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                                                                                         Horns           Rate         Amount

10/26/2015      CJB     CA      1Vlaintain document control.                              0.20        225.00           $45.00

1 p/26/2015     MM      ~A      lJpdate docket a~~d .review (.1); review daily            0.60        305.00          $183.00
                                correspondence and pleadings and forward to the
                                appropriate parties (.2); update critical dates
                                memorandum (.2}; email exchanges with counsel
                                regarding pendi~~g deadlines and follow-up
                                regarding same (.1)
10/26/2Q15      MM      ~A      Coordinate 2002 service updates regarding Parigi           0.10       305.00           $30.50
                                Group
10/27/2015      TCSN    CA      Maintain document control.                                 0.1.0      225.00           $22.50

]0/27/2015      MM      CA       Update docket and review {.]); review daily               1,30       305,00          $39b.50
                                 cot•respondence and pleadings and forward to the
                                 appi•apriat~ parties (.5); update critical dates
                                 memorandum (.5); email exchanges with counsel
                                 regarding pending deadlines and follow-up
                                .regarding same (.2)
10/27/201 S     MM      CA      Email to Linda Miazza regarding adjustment to 2002         0.t0       305.00           $30.SQ
                                data regarding Committee counsel
1 U/28/20 t 5   MM      CA      Update docket and review (.1); review daily                4.70       305:00          $213.50
                                co~•respondence and pleadings and forward to the
                                appropriate parties (.4); update critical dates
                                metn.orandum (:1); email exchanges with counsel
                                regarding pending deadlines and follow-up
                                regarding same (.l)
10/29/2015      ICSN    CA          Maintain document control.                             0.10       225.00           $22,50

10/29/2015      MM      ~A      Coordinate 2002 service data updates regaj•ding Blue       0.10       305.00           $30.50
                                Diamond Crossing
10/29/2015      MM      ~A      Coordinate 2002 updates regarding G & S Realty             0.10       305.00           $30.50

10/29/2015      MM      G~      Update docket and review (.1); review daily                0,90       305,00          $274.50
                                correspondence and pleadings and forward to the
                                appropriate parties (.5); update critical dates
                                memorandum (,2); email exchanges with counsel
                                re~ardi7~~; pending deadlines and follow-up
                                regat~ding same (.1)
10/30/2015      CJB      CA         Maintain document control:                             4.60       225.00          $135.00

10/30/2015      Ytt~    L~          Update docket and i•ev;ew (.1); review daily           0.30       3QS,Q0            X91.50
                                    correspondence and pleadings and forward to the
                                    appropriate parties (.i); update critical dates
                                    memorandum (.1)
                                                                                          26.20                      $7;335.Ot)

  ~XY3a~iCiil~,; ~~Z~O]

10/01/2015      T~DJ      rN        Review "T'aubman Landlords joinder• in Macerich        0.10       1025.00         $102,50
                                    objection to financing
                      Case15-11880-BLS
                     Case  15-11880-BLS Doc
                                         Doc592-2
                                             816-8 Filed
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                                                                                       Hours            Rate          Amount
10/01/2015     LDJ     ~N       Review Federal Realty joinder to Macerich                0.10       1025.00           8102.50
                                objection to financing
10/01/2015     LDJ     FN       Review Macerich objection to financing                  0.30        ~p~5,00           $307.50
10/09/2015     LDJ     ~'N      Review Committee objection to financing and I'SA         1.30       1025.00          $1,332.50
10/09/2015     LDJ     FN       Review DIP issues                                        2•~~       1025.00          $2,562.50
l0/l ]/241 S   LDJ     rN       Telephone call with Van Durrer regarding DIP            0.30        ]025.00           $307:50
                                issues
30/11/2015     LDJ     FN       Telephone call with John A. Mon~is regarding DII'        0.20       1025.00           $205.00
l0/11/2015     JAM     ~N       Review objection to DTP (.4); telephone conference       0.80        875.00           $700.00
                                with V. Duirer, L. Jones re DIP objection (.3);
                                Celephone conference with L. Jones r•e DTP objection
                                (1.}
10/13/2Q]5     LDJ     FN       Review omnibus reply to joint objection of               0.40       1025.00           $410.00
                                Committee to financing and PSA
10/13/2015     LDJ     ~N       Review Committee declaration in support of               0.30       1025.00           $307.50
                                financing and PSA objection
10/I3/2015     LDJ     rN       Review Committee joint objectio» to financing and        0.40       1Q2S.00           $410.00
                                assumption ofPSA
]0/23/2015     MM      ~'N      Emai1 exchange with Laura Davis Jones and ~,inda         0.20        305.00            $61.00
                                Miazza regarding 10/26/15 telephonic hearing
                                regarding DIP and CourtCall registration regarding;
                                same
                                                                                        6.90                         $6,808,50

  Pt~~~ & ll~sclost~Y°e Stmt.[B32Q]
10/13/2015     LDJ     p1~      Review plan                                              1,20       1025.00          $1,230.00
 0/14/201 S    JMM     1'D      Research regarding plan support agreements               0.50        395.00           $]97.50
                                                                                         1.70                        X1,427.50

  ~etea~ta~n of Prof. [Ii160~
10/01/2015     MM      RP       F,mail to Laura Davis Jones and Jarnes ~. O'Neill        0.10        305.OQ            $30.50
                                regarding Ce~~t of No Obj, regarding PSL&J
                                retention application
l0/05/2015     MM      rZ1'     Confer with James E. O'Neill regarding retention of      O.l U       305.00             $30.50
                                PSZ&J
                                                                                         0.20                          $61.00

  Ret. of Prof./C?ther
10/Ol/2015     LD3     RP(3     i'eiephane call with Jurc Say.ini regaj•ding PJ          0.30       1025.00           $307.50
                                Solomon retention, US Trustee issues
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                                                                                         0.30                        X307.50

  Stay Litigation [B140]
l0/01/2015     LDJ       ~L       Further revisions to stay relief motion                4.30        1025.00         $307.50
10/01/2015     JMM       SI,      Revising lift stay motion regarding Skadden            1.1.0        395.00         $434.50
                                  comrrients
10/01/2015     JMM       SL       Revising motion to shorten regarding Skadden           0.60         395.00         $237.00
                                  comments
10/01/2015     JMM       SL       Trnails to Laura Davis ,hones and John Morris          0.10         395,00          $39.50
                                  ~•egarding Skadden comments
 0/02./2015    I,DJ      SL       Review and revise stay motion                          0.40        1025.00         $410,00
10/02/2015     JMM       SI.      Incorporating Slcadden Comments to lift stay motion    1.30         395.00         $S 13.50
10/05/2015     LDJ       ~r~      Review motion for stay re}ief                          0.30        1025,40         $307.50
10/05/2015     I,DJ      SL       Review motion to sho~•ten 7•egarding motion for stay   0.30        1025.00         $307.50
                                  relief
10/05/2015     JAM       SL       E-mails with I.. Jones, J. Mulvihill re Euro Notes     0,30         8'75.00        $262.50
                                  filings,
10/05/2015     JMM       SL       Update to lift stay motion                             0.20         395.00          $79.00
10/05/2415     JMM       SL       Update to motion to shorten                            0.20         395.00          $79.00
10/05/2015     JMM       ~~-      Co~~•espondence with Skadden regarding ding            0.10         395.00          $39.50
10/05/2015     .fMM      SL       Corl•espondence with Lau~'a Davis Jones and John       0.20         395.00          $79.00
                                  Morris,regarding ding
10/05/2015     JMM       Sl,      Call with Annie Li from Skadden                        0,10         395.00          $39.50
]0/05/2015     JMM       ~~       Conversations regarding se~•vice on shortened notice   0,30         395.00         $118.50
10/05/2035     JMM       ST.,     Edits to motions and prepa7•ing for ding               0.60         395.00         $237.00
]0/06/2015     LD3       S1~      Review and commetlt.on revised stay relief motion,     0.30        1025.OQ         $307.50
                                  proposed order
10/06/~Ol S    JAM       Si,      E-mails with L. Jones, J. Mulvihill re Euro bonds      0.30         875.Q0         $262.50
                                  motions.
10/06/2015     JMIY9     SL       Drafting notice ~f order to shorten time               0.60         395,00         $237,00
10/06/2015     JMM       SI~      Incorporating comments from Laura Davis Jones          0.40         395.00         $158.00
]0/06/2015     .~MM      SL       Email to Skadden regarding notice                      0.10         395.00          $3950
1Q/06/2015     JIvIM     Sl,      Finail and conversation with Diane Potts regarding     0.10         395.00          $39,50
                                  service of tiling
10/06/2015     JMM       SL       Email to KCC regarding service of notice               0.10         395.00          $39.50
10/12/2015     JMM       SL       T;mail to Jatnes E. O'Neill regarding stay motion      0.10         395.00          $39,50
10/13/2015     LDJ       SL       Telephone call with John Beck regarding stay relief    0.20        1025.00         $205.00
                                  motion
10/13/2015     MM        SL       Email exchange with I{aren Neil regarding 10/l4/15     0.50         305,00         $152.50
                                  heaj•ing (.2);-email to James E. O'Neill and Laura
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                                                                                          Hours             Rate         Amount
                               Davis Jones re~ardin~ sealed declaration of M,
                               Genereux (.1}; review amended agenda {.2)
10/13/2015    MM      ~L       Email exchange with Laura Davis Jones regaf•ding            0.20        .305.00            $61.00
                               proposed order• regaj•ding lift stay motion (.l }; email
                               to Linda Miazza regarding docket refex•ence in
                               caption of order(.1}
1Q/13/20)S    MM      SCE      Pt'epare order regarding lift stay motion and refer          O.10        305.00            $30,50
                              'same to Lau~•a Davis Jones; email to I.,aui•a Davis
                              .ones regarding same
]0/13/2015    JMM     SL       Emails with Skadden regarding stay relief order             0.20         395.00            $79.00
                                                                                           9.G0                         $5,142.00

 TOTAL SEI2VTClCS FOR THIS 11~IATTER:                                                                              $38,391.00
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Ex~es
 10/01/2015      RE       (2 @0.10 PER PG)                                   o.z0

 1010 1/201 S    RE       (1 @0,10 PBR PG)                                   0.10

 10/Oi/2015      RE       (17 @0.10 PER. PG)                                 1,70

 10/01/2015      RE       (1 @0.10 PER I'G)                                  0.10

 10/O l /20l 5   RE       (29 @0.10 PER PG)                                  2.90

 10/01/2015      R~       (4 @0.10 PER PG)                                   0.40

 10/01/2015      RE       (26 @O.ld PAR PG)                                  2.60

 10/01/2015      RE       (3 @0.10 PER PG)                                   0.30

 10/01/2015      RF       (26 @0.10 PER PG)                                  2,60

 10/O1/20I 5     RE       (20 cr 0.10 AER PG)                                2.00

 10/O 1/2015     RE       (64 @0.10 PAR PG)                                  6.40

 10/01/2015      RE       (2 @0.10 PGR PG)                                   0.20

 ]0/Ol/2015      RE2      SCAN/COPY(24 @0.10 PCR PG)                          2.40

 10/02/2015      R~       (136 @0.10 PER PG)                                 13.b0

 10/02/2015      R~       (4 @0.10 PER PG)                                    0.40

 l0/Q2/2015      R~       (6 @0.10 PER PG)                                    O.bO



 10/02/2015      RE       (22 @0.10 PER PG)                                   2.20



 10/02/201 S     R~       (8X0.10 PF.R PG)                                    0.80



 ]0/02/2015      RE       (2 @0.'10 PI;R ~'G)                                 0.20



 10/02/2015      RE       (3 x,0.10 PER PG}                                   0.30
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 10/02/201 S    R~       (l4 @0.10 PER AG)                                  1.40

 10/02/2015     RE       (55 @0.10 PER PG)                                  5.50

 10/02/2015     RI;      (l b @0.10 PER PG)                                 ].60

 10/02/2015     RE       (I d @0.10 FER PG)                                 1.00

 10/02/2015     RE       (4 @0.10 I'ER PG)                                  0.40

 10/02/2015     RE       (10 @0.10 PER PG)                                   1.00

 10/02/2015     RE       (8 @0.10 PER PG)                                   0,8Q

 1 p/02/201 S   R~       (17 @0.10 PER PG)                                   1.70

 30/02/201 S    RE       (17 @0.10 P~:IZ PG)                                 1.70

 1 0102/201 5   RE       (8 @0,i0 PER PG)                                   0.80

 10/02/2015     RE       (4 @0.10 PER PG)                                   0.40

 10/02/2015     R~       (10 @O.10 PER PG)                                   1,00

 10/02/2015     RE       (2 @0.10 PBR PG)                                   0.20

 10/02/2015     RE       (1 @0.10 P~'R PG)                                  0.10

 10/02/2015     RE       (15 @0,10 P~~R ~'G)                                 1.50

 10/02/2015     RC       (183 @0.10 PER PG}                                 1.8.30

 10/02/2415     RB       (20 @0.10 PER PG)                                   2,00



 10/02/2015     RE       (96 @0,l 0 PER PG)                                  r .1



 10/02/2015     RL       (14 @0.]0 PAR PG}                                   1.40



 10/02/2015     RE       (23 @0.10 PEl2 PG)                                  2.30



 i 0/02/2015    RE       (43.L0.10 PL;R PCY)                                 4.30
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 10/02/201 S    RE       (12 @0.10 PER PG)                                    1.20

 10/02/2015     RE       (6 @0.10 PER PG)                                     0.60

 10/02/2015     RE       (18 @O.10 PETZ I'G)                                  1,80

 10/02/2015     RE       (8 @0.10 PAR PG)                                     d,80

 10/02/2015     RE       (20 @O.10 PER PG)                                    2,00

 10/02/2015     RE       (20 @0.10 PER PG)                                    2.00

 10/02/2015     RE       (6X0.10 PER PG)                                      0.60

 10/02/2015     RE       (9 @O.10 PAR PG)                                     0.90

 10/02/24 i S   RE       (10 @0.10 PAR PG}                                     1.00

  0/02/2415     RL;      (19 @0.10 PER I'G)                                    1.90

 10/02/2015     RE       (3 @O.10 PER PG)                                     0.30

 10/02/20]5     RE       (4S @0.10 PER PG}                                    4.50

 10/Q2/201 S    RE       (1 ~cr,0.1 d PER PG)                                 0.10

 10/02/2015     RE       (6 @0.10 PETZ PG)                                    0.60

 10/02/2015     RE       (24 @0.l 0 P~Tt I'G)                                 2.40

 10/02/2015     RE       (3 @0,l0 PER PG).                                    0.30

 10/02/2015     RE       { 1 1 @0.10 PER PG)                                   1.10



 10/02/2015     RE       (19 @0.10 PER PG)                                      .~



 10/02/2015     I~B      (6 @0.10 PER PG)                                     0.60



 10/02/20]5     t2E      (3 @0.10 PER pG)                                      0.30



 10/02/2015     RE       (21 @0.10 PAR PG)                                     2.10
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 10/02/2015     RT'      (4 @0.10 PER PG)                                       0.40.

 10/02/2015     RE       (6 @0.10 FER PG)                                       ~•~~

 10/02/20]5     RI;      (13 @0.10 PER PG)                                      1.34

 10/02/20]5     RE       (44 @0.10 PER PG)                                      4.40

 10/02/2015     RT       (7 @0.10 PER PG)                                       0.70

 10/02/2015     RE       (11 @0.10 PER PG)                                      1.14

 10/02/2015     RE       (5 @0.10 PER PG)                                       0.50

 10/02/20 i 5   RE       (1 @0.10 AER PG)                                       0.10

 10/02/2015     RE       (IQ @O.10 PAR PG)                                      1,00

 10/02/201 S    R~       (12 @0.10 PI;R PG)                                     1,20

 10/02/2015     12C      (3 @O.10 PER PG)                                       0.30

 ]0/02/2Q15     Rr       (26 @0.10 PER PG)                                      2.6Q

 10/02/2015     RE       (8 @0.10 PER PG)                                       0.80

 10/02/2015     RE       (4 @0.14 PER PG)                                       0.40

 10/02/2015     RE       (20 @0.10 ASR PG)                                      2.00

 10/02/2015     RE       (2$ @0.10 Pl?R PG)                                     2,80

 10/02/201 S    RE       (7 @0.10 PAR PG)                                       0.70



 10/02/2015     RE       (24 @0.10 PER PG)                                      2.40



 10/02/2015     RE       (26 X0.1 U PrR PG)                                     2.60



 I p/02/2015    RT'      (5 @0.10 PER PG)                                        0.50



 10/02/2015     IZ~      (6 @0.10 FER PG)                                        ~~~fl
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 10/02/201 S    RE        (17 @0.10 PBR PG)                                      1.70

 10/02/201 S    R~        (5 @0.10 PER PG)                                      0.50

 10!02/2015     RE        (3 @Q.10 PEIt PG)                                     0.30

 10/02/2015     R~2       SCAN/COPY(24 @0,l0 PER PG)                            2.40

 ]0/02/2015     REZ       SCAN/COPY(23 @0.]0 PER PG)                            2,30

 10/OS/2015     RE        (336 @0.10 ASR PG)                                   33,60

 10/05/201 S    RE        (1 @0.10 PER 1'G)                                     0.1 Q

 10/05/2015     RF,       (278 @0.10 PER PG)                                   27.$0

 10/05/2015     RE        (2 @0,10 PBR PG)                                      Q,20

 10/0~/2U 1 S   RE        (3 ~O.l0 PER pG)                                      0.30

 10/05/2015     ItE       (1 @0.10 ASR PG)                                      0.t 0_

 10/05/2015     RF        (12 @0.10 PER PG)                                      1.2~

 10/05/2015     RE        ('70 @0.10 PER PG)                                     7.00

  0/05/2015     RF,2      SCAN/COPY (37 @0.]O 1']R 1'Cr)                         3.70

 10/06/2015     DC        72779,00001 Digital T,egal Charles for ]0-06-15        6.50

 10/06/20]S     RE        (143 @0,10 PER PG)                                    14.30

 10/06/2015     RI,       (182 @0.10 PAR PG)                                    18,20



 10/06/2035     RE2       SCAN/COPY(8 @0.10 PAR PG)                              0.80



 10/06/20]5     R~2       SCAN/COT'Y(l2 @0.l0 PER PG)                            1.20



 10/06/2015     RE2       SCAN/COPY.( 165 @0.10 PGR PG)                         16.50



 10/06/2015     RE2       SCAN/COPY(60 @0.10 I'ER T'G)                           6.00
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 l0l07/2015     FF        F'ilin~; Fee [E112J USBC-D~, Fili~lg ree, LDJ     176.00

 J O/Q7/201 S   R~        (65 @0.1 Q PER YG)                                  b,50

 10/97/2015     Rk;       (39 L0.10 PT~R PG)                                  3,90

 10/07/2415     RE        (173 @0.10 PER 1'G)                                17.30

 10/07/2015     RE        (105 @0.10 P~~R PG)                                10.50

 10/07/2015     RE        (5 @0.10 PAR PG)                                    0.50

 10/07/2015     RE        (9 <r 0,101'rR PG)                                  0,90

 10/07/20]5     ItE2      SCAN/COPY(75 @0.10 PrR PG)                          7:50

 I Q/07/20]5    RE2       SCAN/COPY(86 @,0.10 PER 1'G)                        8.60

 I0/07/20i5     RE2       SCAN/COPY(19 @0.10 PER PG)                           1,90

 ]0/07/2015     RT;2      SCAN/COPY (1 @0.101'ER PG)                          0,10

 1 Q/07/201 S   RL2       SCAN/COPY(2 @0.10 PER PG)                           0.20

 1 Q/07/20]5    TZr2      SCAN/COPY (44 a 0.70 PLR PG)                        4.40

 10/07/2015     R~2       SCt1N/COPY(2 @0.10 PAR PG)                          0.20

 10/07/2015     RE2       SCAN/CC)PY(1 (c~0.10 P~:R PG)                       0.10

 10/U7/2015     RE2       SCAN/COPY(1 & @0.l 0 PER PG)                         1.80

 10/07/2015     RE2       SCAN/COPY(S @0.10 PER PG)                            o.so


 10/07/2015     IZB2      SCAN/COPY(l22 @0.]0 I'I~R 1'G)                      12,20



 10!07/2015     RE2       SCAN/COPY (. 2 ~a70.10 PER PU)                       0;20



 10/07/201 S    RE2       SGANLCOPY(4 @0.I 0 PER PG)                           0.4Q



 10/07/2015     RE2       SCAN/COP~1'(2 @0.10 1'~R PG)                         0.20
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 10/07/201 S   RE2       SCAN/COPY(90 @0.10 PAR PG)                          9.00

 10/07/2015    RG2       SCAN/CnPY(9S @0,10 AE3t PG)                         9.50

 10/07/2015    RE2       SCAN%COPY(1 @0,10 PBR PG)                           0.10

  0/07/201 S   ItL2      SCAN/COPY(10 X0.10 C'~,R PG)                        1.00

  0/Q7/2015    RF2       SCAN/COPY(2 @0.10 PAR PG)                           0.20

 10/07/2015    R~2       SCAN/CO~'Y {2 @0.101'F?,R NG)                       0.20

 10/07/2015    RE2       SCAN/COPY(59 @0,7 0 PFIt PG)                        5.90

 10/07/2015    K~2       SCAN/COPY(1 @0.10 PER PG)                           0.10

 10/07/201 S   R~2       SCAN/COPY (21 @0.1 U PER PG)                        2.10

 10/07%2015    R~2       SCAN/COPY(20 @O.10 PAR FG}                          2.00

 1.0/07/2015   RE2       SCAN/COPY(]70 LQ.10 PER PG)                        17.00

 10/07/2015    RE2       SCAM/COPY(2 @0.10 PER PG)                           0.20

 10/07/2015    RE2       SCAN/COPY(2 @0.10 PER PG)                           0.20

 10/07/2015    R~2       SCAN/COpY(2 @0.10 PT;R PG)                          0.20

 10/07/2015    R~2       SCAN/COPY(4 @0.10 PrR PG)                           0,40

 10/07/201 S   RE2       SCANICOPY(3 @0.10 PER T'G)                          0.30

 IO/0712015    RE2       SCAN/COPY(2 @0.10 PA R PG)                          0.20



 10/07/201 S   R~2       SCAN/CORY(]@0.10 PEK PG)                            0,10



 10/08/2015    RE        (2 @0.10 PER PG)                                    0.20



 10/08/2015    RE        (3 @0.10 PER PG)                                    0.30



 10/08/2015    IZE       (9 @0.10 PER PGr)                                   1'1
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 10/0&/2015      RE      (2 @0.10 PBR PG)                                      0.20

 10/08/2015      RE.      { l @0.10 I'LI2 PG)                                  0.10

 10/08/2015      RE       (1 ~a;0.10 PER PG}                                   0.10

 10/08/2015      RB       (5 @0.10 PER PG)                                     0.50

 10/08/2015      RE       (3 @0.]0 PER PG)                                     0.30

 l 0/08/201 S    RE       (2 @0.10 PER PG}                                     0,20

 10/08/2Q15      RE2      SCAN/COPY(3 @0.10 PER PG)                            0.30

 10/09/2015      RE       (122 @0.10 PAR PG)                                  12.20

 10/09/2015      RC       (4 @0.10 PER PG)                                     ~~4~

 10/09/2415      RE       (4 @0.10 PER PG)                                     0.40

.. 10/09/201.5   RE      (]0 @0.10 PER PG)                                      1.00

 10/09/2015      RE       (84 @0.I0 7'~.,R PG)                                  8.40

 10/09/2075      RE       (8 @0.10 PER PG)                                      ~~~~

 10/09/2015      R~       (9 @0.10 PER I'G)                                     0.90

 10/09/2015      iZE      (8 (c~0.10 PER PG)                                    ~•~d

  0/09/2015      RE       (53 @0.10 PER PG)                                     5.30

 10/09/2015      RE       (2l @0.10 PER PG)                                     2.10



 10/09/2015      K~       (44 @O.l0 PER PG)                                     4.40



 10/09/2015      RE       (938 @0.10 PER PG)                                   93.80



 10/09/2015      RE       (53 @0.10 PER PG}                                     5.30.



 10/09/2015      RE       (144 @0.10 PER PG)                                   14.40
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 ]0/09/2015     RE       (11 @Q.10 PER PG)                                        1.10

 10/09/2015     RI;      (l56 @4,10 PER FG)                                      l 5.60

 10/09/2015     RE      (3 @O.10 PAR PG)                                          0,30

 10/09/2015     R~      (3 a 0.10 PAR PG)                                         0.30

 10/09/201 S    RE      (4 @0.10 PFR PG)                                          0.40

 10/09/20 7 5   R~       (1 @0,10 ASR PG)                                         0.10

 10/09/2015.    RE       (24 @0.10 PER.PG)                                        2.40

 10/09/2015     RL;      (3 cr 0.10 PER PG)                                       0.30

 ]0/09/2015     RE2      SCAN/COPY (6l @0.10 PAR PG)                              6,10

 10/09/201 5    RE2      SCAN/COPY(J 9 @0.10 PER PG)                              l.90

 lO/l l/2015    CC       Conference Cal][E105] AT&T Conference Call, LDJ          1.80

 ]0/11!2015     RE2      SCAN/COPY(82 @0.10 PER PG)                               8,20

 10/] 1/2015    RE2      SCAN/COPY(65 @0.10 PER PG)                               6.50

 10/12/2015     R~       (I S @O,l 0 PBR PG)                                      1.50

 10/12/2015     RE       (92 @0.10 PER PG}                                        9.20

 10/12/2015     RE       (1 @0,10 PER PC)                                         0.10

 10/12/2015     RE       (7 @0.10 PFR I'G)                                        0.70



 10/12/2015     R~2      SCAN/COPY(15 @0.10 PER PG)                               1.50



 10/12/2015     RE2      SCAN/COPY(61 @0.10 I'FR PG)                              6.]0



 10/12/201.5.   RB2      SCAN/COPY {8 @O.10 PI:K T'G)                             0.80



 ]0/13/2015     CL       Confe~•ence Call (E105~ AT&T Conference Call, LDJ         1.45
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 10/13/2015       RE        (1 @0.10 PAR PG}                                        0.10

 10/13/2015       RE       (2 @0.10 PF.,R PG)                                       0.20

 1Q/13/2015       RB       (2 @0.10 PAR PG)                                         0.20

 10/13/2015       R~       (3 @0.10 PAR PG)                                         0.30

 10/]3/201 S      RE        { l 16 @0.10 PF,R PG)                                  11.60

 14/l 3/2015      RE       (2 @0.10 PER PG)                                         0.20

 ]0/13/2015       RE        (l0 @0.10 E'ER PG)                                      1.00

 10/]3/2015       RC        (2 @0.10 PER PG}                                        OZO

 10/13/2015       RE        (20 @0.10 PER PG)                                       2.00

 10/13/2015       RE        (186 @0.10 PER PG)                                     18.60

 10/13/2015       RE        (1 @0.10 PER PG)                                        0.10

  0/l 3/2015      RE2       SCAN/COPY {6l @0.10 PER PG)                             6,10

 10/14/2415       DC        72779.000OI Digital Legal Charges for 10-14-15         18.00

 10/74/2Q15       DC        72779.0000] Digital Legal Chaj•ges fog• 10-14-15       21.09

 IQ/i~/2015       DC        72779,0000] Digital Legal Charges for ]0-14-15          6.50

 10/14/2015       DC        72779.00001 Digital Lagal Charges for 10-14-15          6.50

 10/14/2015       RE        (2 @0.10 PER PG)                                        0.20



 10/]4/2015       RE2       SCAN/COPY(8 @0.10 PER PG)                               0.80



 1 011 4/20 1 5   RE2       SCAN/COPY {7 ~a,0,10 PER 1'G)                           Q.70



 10/14/2075       RE2       ~CnN/COPY(70 @0.10 PER PG)                              7.00



 10/1X4/2015      IZF2      SCAN/C;OT'Y .(6 @0.10 PER PG)                           0.60
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 10/1/2015      RL;2      SCAN/COPY(9 @0.10 PER 1'G)                         0.90

 l0/l4/2015     RE2       SCAN/COPY(70 @O.iO PEK PG)                          7.00

 10/14/2015     R~,2      SCAN/COPY(19 @0,10 PAR PG)                          1.90

 10/15/2015     RE       (3 @0.10 PER PG)                                     0,30

  0/15/201 S    RE       (3 ~c~0.10 PER PG)                                   0.30

 10/15/2015     RE        (l2 @0.10 PER YG)                                   1.20

 10/ 1 S/2015   Rr        (461 @Q,l 0 PGR PG)                               46.l0

 10/15/2015     RE2       SCAN/COT'Y (461 @0,10 PER PG)                     46.10

 10/16/20]5     RE        (1 @0.l 0 PER 1'G)                                  0.10

 10/16/2015     RE        (23 @0.10 PBR PG)                                   2.30

  0/1 R/201 S   RL        (1 @0.10 PEn PG)                                    0.10

 10/19/2015     R~        (4 @Q.10 PAR PG)                                    0.40

 10/19/2015     R~        (1 @0.10 PAR PG)                                    0.10

 10/19/201 S    RE        (7 @0.10 PER 1'G)                                   0.70

 .10/19/2015    RE2       SCAN/COPY_( 11. @O.10 PER PG)                       1.10

  0/19/2015     RE2       SCAN/COPY(40 @0.10 PER PG)                          4.00

 10/19/2015     R~2       SCAN/COPY(4l @Q.10 PER I'G}                         4.10



 10/19/2015     RE2       SCAN/COT'Y(40 @0,10 PBR PG)                         4,00



 10/19/2015     RE2       SCAN/COPY (28 @O.ld PER PG)                         2.80



 10/19/201 S    RE2       SCAN/COPY(40 @0.10 PER PG)                          4.00



 10/19/2015     Rt~2      SCAN/COPY-(2 @0,10 PrR PG)                          0.20
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 10Y19/24l S      Rr2       SCAN/COPY(86 ~a;0,10 PBR PG)                        8.60

 10/19/2015       RF2       SCAN/COPY(80 @0.10 P~;R PG)                          8.00

 1Q/19/2015       R~2       SCAN/COPY {28 @p.1Q PER PG)                         2.80

 ]0/19/2015       KE2       SCAN/COPY(90 @0.10 PER PG)                           9.00

 10/19/2015       RC2       SCAN/COPY(58 G0,1 Q PER PG)                          5.80

 1 0/1 9120 1 5   RE2       SCAN/COPY (11 @Q.1 Q 1'ER PG)                        1,10

 l 0/Y 9/201 S    KE2       SCAN/COPY(2 @0.10 PAR PG)                            0,20

 10/19/2015       RE2       SCAN/COPY(28 @0.10 PER PG)                           2.80

 10/19/2015       RL:2      SCAN/COPY(A0 @0.10 PER PC)                           4.00

 10/19/201 S      RL;2      SCAN/COPY(54 @0.10 PER PG)                           5.40

 10/19/2015       R1~2      SCAN/CORY(C2 @0.10 PCR AG)                           6.20.

 10/19/2415       RE2       SCAN/COPY(40 @0.10 I'L,R PG)                         4.00

 10/19/2015       RE2       SCAN/CQPY(28 @0.10 PER PG)                           2.80

 10/19/2015       RE2       SC/lN/COPY (29 @0.10 PTR 1'G)                        2,90

 10/19/2015       RE2       SCAN/COPY(2& @0.10 PER PG)                           2,&0

 10/19/201 S      ItE2      SCAN/COPY (43 @0.10 PER PG)                          4,30

 10/19/201 S      RE2       SCAN/COPY(89 @0,10 PEn PG)                           8.90



 10/19%2015       RE2       SCAN/COPY(28 @0.10 PI~,R per)                        2.80



 10/2Q/20l 5      RI;       (6 @4.10 PBR PG)                                     0.60



 10/20/2015       R~:2      SCANJCOPY(2 @0.1 U PER PG)                           0.20.



 10/20/2015       RE2       SCAN/COPY(35 @0.10 PAR PG)                           3.50
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 10/20/20]5     RE2       SCAN/CONY (1 @0,10 PER PG)                          o.ro
 10/21/2015     TZ.E     (7 @0.10 PER PG)                                     0.70

  0/21/201 S    RE2       SCAN/COPY(59 @0.t 0 AER PG)                         5.90

 10/21/2015     RE2       SCANJC()PY { 1 (a;0.10 PER PG)                      0,10

 10/21/2015     RE2       SCAN/COPY(1 @0.10 PER AG)                           0.10

 10%21/2015     Rli2      SCAN/COPY(4 @0.10 PER NG)                           0.40

 1 Q/22/2015    RE       (5 @0,l0 P~,R PG)                                    0.50

 10/22/2015     RE       (3 @0.10 PAR PG)                                     0.30

 10/22/2015     R~2       SCAN/COPY(14 @0.]0 PBR PG)                          ].40

 10/22/2015     RE2       SCAN/COPY (2l @0.10 PER PG)                         2.10

 10/22/20 i5    RE2       SCAN/COPY(43 @0.l 0 PAR PG}                         4.30.

 10/22/2015     RE2       SCAN/COPY(62 @0.10 I'E12 I'G)                       b.20

 1 0122/201 5   RC2       SCAN/COPY(2 @0.10 PER PG)                           0.20

 10/22/2015     R~2       SCAN/CnPY(57 @0.10 PER PG)                          5.70

 10/23/2015     R~        (246 @0.10 PER PG)                                 24.60

 10/23/201 S    RE        (5 @0.l 0 PGR PG)                                   0,50

 10/26/2015     RE        (1.8 @0.!0 PER PG}                                  1.80



  0/26/20]5     RI:       (20$ @0.10 PLK 1'G)                                20.80



 10/26/2015     RE        (1391 @0.10 PER PG)                               139,10



 10/26/2015     R~        (13 @0.10 PIs12 PG)                                 1.30



 10/26/2015     R}~2      SCAN/COT'S'(12 @0.10 PER PG)                        1.2Q
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  0/2b/2015     RE2        SCAN/COPY(9 @0.10 PER PG)                             0.90

 10/26/2015     RE2        SCAN/COPY(14 @0,101'~;R PG)                           1.40

 10/26/201 S    RB2        SCAN/COPY(16 @0.10 PAR PG)                            1.60

 10/26/2015     RE2        SCAN/COPY.(539 @0.10 FER PG)                         53.90

 10/26/2015     RE2        SCAN/COPY(22 @0.10 PER FG)                            2,20

 ]0/26/2015     RE2        SCAN/COPY(539 @0.10 I'ER PG)                         53.90

 10/26/2015     RE2        SCAN/COPY(6 @0.10 PER PG)                             0.60

 t 0/27/20]5    RE        (1 @0.10 PFR PG)                                       0.10

 10/27/201 S    RE        (1 @0.10 PER PG)                                       0.l 0

 10/27/2015     RE2        SCAN/COPY(38 @0.10 PER PG)                            3.80

 1 U%27/201 S   R~2        SCAN/COPY(5 (a,Q.10 PER PG)                           Q.S4

 10/27/2015     R~2        SCAN/COPY(32 @0.]0 PER PG)                            3.20

 10/27/201 S    R~2        SCAN/COPY(43 @0.10 PER 1'G)                           x.30

 10/27/2015     RE2        SCAN/COT'Y(35 @0.10 PAR PC,)                          3.50

 10/27/2015     RE2        SCAN/COPY(39 @0,10 PER PG)                            3.90

 10/27/2015     RE2        SCAN/COPY(4 @0.10 PER PG}                             0.40

 10/27/20]5     RE2        SCAN/COPY(37 @0.10 PBR PG).                           3.70



 10/27/20]5     R~2        SCAN/COPY(22 @0.10 PrR PG)                            2.20



 10/27/2015     RE2        SCAN/COPY(11 @0,10 PBR PG)                             1.10



 10/27!20]S     R~2        SCAN/COPY(35 @0.. t 0 PER PG)                          3.50



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 10/28/2015    RE        (1 @0.10 PER PG)                                       0:10

 i Q/28/2015   RE2       SCAN/COPY(79 @0.10 PER PG)                             7.90

 10/28/2015    RF,2      SCAN/COPY(3 @0.10 PAR I'G)                             0.30

 l 0/28/2015   RE2       SCAN/COPY(6(a~0,10 PAR 1'G)                            0,60

 10/2$/2015    RB2       SCAN/COPY(b1 @0.10 AER AG)                             6,10

 10/28/2015    RC2       SCAN/CQI'Y { S7 @0.10 PIER PG)                         5.70

 10/28/201 S   RE2       SCAN/COPY(3 @0,10 PBR PG)                              0.30

 10/28/2015    RE2       SCAN/COPY(66 @0.10 PER PG)                             6.60

 10/28/2015    RE2       SCAN/COPY(4 @0,10 PAR PG)                              0.40

 10/28/2015    RE2       SCAN/COPY(3 @0.1.0 PER PG)                             0.30

 10/28/201 S   RE2       SCAN/COPY(6 3 @0.10 PAR PG)                            6.10

 i 0/28/2015   RE2       SCAN/COPY(66 @0.10 PER PG)                             6.60

 10/28/2015    RE2       SCAN/COPY(65 @0.10 PER PG)                             6.50

 10/28/2015    RE2       SCAN/COPY(79 @0.10 P.ER PG)                             7,90

 10/29/2015    RL,       (.7 rz 0.10 PAR PG)                                    0.70

 10/29/201 S   R~        (7 cr 0.10 PER AG)                                     0,70



 10/29/2015    R~        (102 @0.10 PER PG)                                     10.20



 10/29/2015    RE2       SCAN/COPY(6 @0.10 PAR PG)                               0.60



 10/29/2015    RE2       SCAN/COPY(3 @0.10 PER PG)                               0.30



 10/29!2015    RE2       SCAN/COPY(7 @0.10 PER PG)                               0.70
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 10/29/7015    REZ      SCAN/COPY(i4 @0.10 T'~R PG)                           1.40

 10/29/20]S    R~2      SCAN/COPY(2 @0,10 NER PG)                             0.20

 10/29/2015    RE2      SCAN/COPY(47 @0,10 ~'~;R AG)                          4.7Q

 10/29/2015    RE2      SCAN/COPY(7 @O.10 PER PG)                             0,70

 10/29/2015    RE2       SCAN/COPY(5 @0.10 PER PG}                            0.50

 10/29/201 S   R~2       SCAN/COPY(70 @0.10 PER PCr)                          7.00

 10/29/2015    R~2       SCAN/COPY(7 @O.10 AER PG)                            0.70

 10/30/201 S   RE       (38 @0.10 PAR 1'G)                                    3.80

 10/30/2015    RE       (1 @0.10 PER PG)                                      0.10

 10/31/2015    PAC       Pacex• - Courl Research                             67.20

   Total expenses for this Ndatter                                     $1,664.3
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                                                      I21<~MI7CTANCE ADVTC~
                                      Please inclade dais Remittance Advice with your payment



 For cuj~rent services rendered through 10/31/2015

 'Total Fees                                                                                                               $38,391.00
 Chargeable costs and disbm~sements                                                                                         $1,G64.34
"l'otal Due on Current Invoice.....................                                                                        $40,055,34


 Outstanding Balance fi•om prior invoices as of IQ/31/2015       (may not reflect recent p~ymc~its)


Invoice Number                      Invoice Date                  Fees I3i11ed                 expenses Billed        Balance Due


      11]420                        09/30/2015                   $32,947.50                           $436.40              $33,383,90


 Total Amoa~at Dae on Carrent and Pt•ior lwivoices                                                                         $'73,439.24
